                       Case 3:24-cv-05264-PHK Document 6 Filed 08/16/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Northern District
                                                 __________  District of
                                                                      of California
                                                                         __________

 ALAN SILVA, individually and on behalf of all others            )
                 similarly situated,                             )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                                      Civil Action No. C24-5264 PHK
                                                                 )
 YANKA INDUSTRIES, INC. D/B/A MASTERCLASS,                       )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) YANKA INDUSTRIES, INC. D/B/A MASTERCLASS,
                                       660 4th Street,
                                       San Francisco,
                                       CA 94107.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             08/16/2024
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                        Case 3:24-cv-05264-PHK Document 6 Filed 08/16/24 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. C24-5264 PHK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
